Case MDL No. 875 Document 4994 Filed 03/23/07 Page 1 of 1

FRANCIS LAW Firm, L.L.C. JUDICIAL PANEL ON

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OLERK'S OFFICE

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ARKANBAR & ILLINOIS

March 23, 2007

VIA FACSIMILE 202-502-2888

Mr. Jeffery N. Liithi

Clerk of the Panel

MDL Litigation

One Columbus Citcle NE

Thurgood Marshall Federal Judiciary Bldg.
Room G-255 North Lobby

Washington, D.C. 20002

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RE: MDL —875-In Re Asbestos Products Liability Litigation (No. VI)

Opposition Notice to Conditional Transfer Order

Underlying Case: = Jack Franklin v. CSX Transportation, Inc.
Cause No.: 3:06-CV-1058

Court: U.S. District Court, Southern District of Illinois
Conditional Transfer Order — (CTO-275)

My Client: Jack Franklin

PLEAD. ...

Dear Mr. Liithi:

Please consider this my client, Jack Franklin’s timely and formal Notice of
Opposition to the Conditional Transfer Order pursuant to the Conditional Order of

Transfer. I am faxing the request and understand your office will serve the involved
counsel. Please advise the briefing schedule.

Thank you for your attention to this matter.

Very tru ‘Ss,
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DRF/mgem, > am
ce: Kurt Reitz (via fax) o moe
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